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IN THE CIRCUIT COURT FOR COCKE COUNTY, TENNESSE
AT NEWPORT EG IRCUIT COURT

FILED
AUG 1 1 2004
BAUDA VAUDA LEE SUTTON, )
) SUR COURT CLERK
Plaintiff, ) oR ocke County, TN
) TT
v. ) Civil Docket No.4 \ {{ 7 ~ jt
) ?
PFIZER, INC. and )
)
WARNER-LAMBERT, CO., LLC)
)
Defendants )
)
CLASS ACTION COMPLAINT

Plaintiff, BAUDA VAUDA LEE SUTTON, individually, and on behalf of all others
similarly situated, for their complaint against Defendant, PFIZER, formerly known as
WARNER-LAMBERT COMPANY, LLC, upon knowledge as to herself and her own acts, and
upon information and belief as to all other matters, alleges as follows:

NATURE OF THE CASE

1. Plaintiff brings this Class action case for violation of the Tennessee Trade Practices
Act (“TTPA”), T.C.A. §47-25-101, et seq., violation of the Tennessee Consumer Protection Act
(“TCPA”), §47-18-104, et seq., money had and received, and unjust enrichment based upon
Defendants’ attempt to restrain trade through illegal marketing and advertising, leading to the
sale of the drug, Neurontin, for unapproved or ineffective uses. Because of the fraudulent
concealment and continuing violations alleged herein, the relevant statutes of limitations are
either tolled, or are currently running. |

2. This Class action case is brought by Plaintiff individually and on behalf of similarly
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situated consumers in the State of Tennessee who have unwittingly paid millions of dollars to
Defendants as a result of Defendants’ illegal marketing of the prescription drug Neurontin.
Defendants marketing scheme was designed to push and promote Neurontin for Unapproved or
Off-Label uses, as defined herein, by persuading doctors to prescribe and consumers to request
the prescription of Neurontin for such uses.

PARTIES

3. WARNER-LAMBERT COMPANY, LLC (hereinafter “WARNER-LAMBERT’),
Was a corporation operating and existing under the laws of the State of Delaware. Its principal
place of business was Morris Plains, New Jersey. WARNER-LAMBERT can be served with
process through its registered agent, The Corporation Trust Company, Corporation Trust Center,
1209 Orange Street, Wilmington, Delaware, 19801.

4, WARNER-LAMBERT was engaged, in part, in the development, manufacture,
marketing, advertising, sale and distribution of prescription drugs intended for human use,

specifically Neurontin, in the United States. WARNER-LAMBERT’s pharmaceutical products
were manufactured in Puerto Rico, and shipped to all fifty states and the District of Columbia.
Specifically, Neurontin was marketed, advertised, sold and distributed in Tennessee, including
Cocke County, Tennessee.

5. PFIZER, INC. (“PFIZER”), the world’s largest pharmaceutical company, is a
corporation operating and existing under the laws of the State of Delaware. Its principal place of
business is New York, New York. PFIZER can be served with process through its registered
agent, The Corporation Trust Company, Corporation Trust Center, 1209 Orange Street,

Wilmington, Delaware, 19801.
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6. PFIZER acquired WARNER-LAMBERT in 2000, and thereafter developed,
manufactured, marketed, advertised, sold and distributed those prescription drugs intended for
human use, including Neurontin, which were previously developed, manufactured, marketed,
advertised, sold and distributed by WARNER-LAMBERT. PFIZER continued to market,
advertise, sell and distribute Neurontin in Tennessee.

7. Certain doctors practicing in the State of Tennessee who prescribed Neurontin to
Plaintiff and the Class members during the Class period are unnamed co-conspirators to various
acts described herein.

8. Plaintiff, BAUDA VAUDA LEE SUTTON (“Sutton”), is a consumer and resident of
Cocke County, Tennessee. She purchased Neurontin during the Class period. Plaintiff was
prescribed, purchased and used Neurontin for the treatment of pain, which was an Unapproved
(as defined herein) use of Neurontin.

JURISDICTION AND VENUE

9. Venue is proper in this judicial district because Plaintiff resides in Cocke County,
Tennessee, was prescribed, purchased and used or consumed Neurontin in Cocke County,
Tennessee, and Defendants transact business, and/or have agents in Tennessee, and because
substantial trade and commerce described below have been carried out in Tennessee.

BACKGROUND

10, Neurontin was initially approved by the federal government for the treatment of
epileptic seizures in patients whose conditions had not improved through the use of other types
of treatment.

11. Although doctors are free to prescribe federally approved drugs for any use of their

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choosing, pharmaceutical companies are prohibited from promoting drugs for non-approved
purposes. Many of the doctors who were targeted by Defendants to prescribe Neurontin were not
even practicing in the field of medicine relevant to Neurontin’s Approved use,

12. WARNER-LAMBERT and PFIZER paid for and encouraged doctors to prescribe
Neurontin to patients for the treatment of, among other ailments, bipolar disorder, Lou Gehrig’s
disease, ADD, restless leg syndrome and drug and alcohol withdrawal seizures, all Unapproved
uses,

13. Defendants have marketed Neurontin for prescription of dosage amounts greater than
those approved for FDA labeling.

14. Further, Defendants have marketed Neurontin for Unapproved uses without
conducting studies or publishing reports of the interaction between Neurontin and the use of
other drugs related to the treatment of those Unapproved uses.

15. Neurontin has become one of the biggest-selling drugs in the world. Off-Label uses
of Neurontin have grown to 94% as of 2002. Sales in 2003, have been estimated at $2.7 billion,
at least ninety percent (90%) of which came from the sale of the drug for Unapproved uses.

16. On May 11, 2004, Warner Lambert entered into a plea agreement for distribution of
an unapproved new drug (violation of 21 USC 331(d), 333(a)(2), and 355(a)) and distribution of

a misbranded drug (for inadequate directions for use) (violation of 21 USC 331{a), 333(a)(2), and

352(f)(1)) in the United States District Court of Massachusetts in the United States of America v.

Warner-Lambert Company, LLC, case no. 1:04-cr-10150-01-RGS. This plea was accepted by

the court and Warner-Lambert was adjudicated and sentenced on June 9, 2004, by the Honorable

Richard G. Stearns. (A copy of the Judgment and transcript of the Plea Hearing are attached
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attached hereto as EXHIBITS 1 and 2, respectively).
INTRASTATE TRADE AND COMMERCE

17. During all or part of the Class period, Defendants manufactured, sold and distributed
substantial amounts of Neurontin, in a continuous and uninterrupted flow of commerce ~
throughout the United States and across state lines, into Tennessee, where the product was then
_ sold, or offered for sale.

18. In connection with the marketing, advertising, distribution and sale of Neurontin,
during all of the Class period, Defendants transmitted funds, contracts, bills and other forms of
business communications and transactions in a continuous and uninterrupted flow of commerce
across state lines, into the State of Tennessee.

19, Because of the fraudulent concealment described below, any applicable statute of
limitations affecting or limiting the rights of action by Plaintiff or members of the Class has been
tolled.

CLASS ACTION

20. Plaintiff brings this Class Action, pursuant to Rule 23 of the Tennessee Rules of
Civil Procedure, as representative of the following Class:

(a) All consumers in the State of Tennessee who purchased and/or paid all or
part of the purchase price of Neurontin for themselves, their families, or their members or
insureds in the State of Tennessee (the “Class”), during the period from 1995 to the present (the
“Class Period”).

(b) Excluded from the Class are the Defendants, their respective subsidiaries and

affiliates, and the court assigned to this case, including its employees and their family members.
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21, There are so many Class members that joinder is impracticable. There are, at a
minimum, thousands of Neurontin purchasers in Tennessee.

22, Plaintiff's claims are typical of the members of the Class. Plaintiff and all members
of the Class were damaged by the same wrongful conduct of Defendants.

23, Plaintiff will fairly and adequately protect and represent the interests of the Class.
The interests of Plaintiff are similar, and not antagonistic, to those of the Class.

24. Plaintiff is represented by counsel who are experienced and competent in the
prosecution of complex class action litigation.

25. Questions of law and fact common to all members of the Class predominate over
questions, if any, that may affect only individual members, because Defendant has acted on
grounds generally applicable to the entire Class. Questions of law and fact common to the Class
include:

(a) Whether Defendants disseminated false and/or deceptive information to
doctors in an attempt to convince doctors to prescribe Neurontin to their patients for treatment
purposes which had not been approved by the federal government.

(b) Whether Defendants disseminated false and/or deceptive information to the
general public in an attempt to get members of the general public to convince their doctors to
prescribe Neurontin for treatment purposes which had not been approved by the federal .
government,

(c) Whether Defendants’actions concerning the sale and marketing of Neurontin
have violated , and continue to violate, the TTPA.

(d) Whether Defendants’ actions concerning Neurontin have violated , and
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continue to violate, the TCPA.

(ec) Whether Defendants were unjustly enriched as a consequence of their
unlawful, unfair and deceptive acts.

(f} Whether, and to what extent, the conduct of Defendants caused injury to
Plaintiff and the Class, and if so, the appropriate measure of damages.

26, Class action treatment is a superior method for the fair and efficient adjudication of
the issues, in that, among other things, such treatment will permit a large number of similarly
situated consumers to prosecute their common claims in a single forum simultaneously,
efficiently, and economically, and without the unnecessary duplication of evidence, effort and
expense that numerous individual actions would entail. The benefits from class action treatment,
including providing damaged class members with a method of obtaining redress for claims that
might not be practicable to pursue on an individual basis, substantially outweigh any difficulties
in management of the suit as a class action.

THE FACTS

27. The Federal Food, Drug and Cosmetic Act (“FFA”), governs the lawful interstate
distribution of drugs for human use. The FFA regulations require that before a new drug may
legally be distributed in interstate commerce, a sponsor of a new drug product must submit a
New Drug Application (“NDA”). 21 U.S.C. §355(b).

28. In such case, the NDA sponsor is required to submit proposed labeling to the US.
Food and Dmg Administration (“FDA”), for the proposed intended uses for the drug including,
among other things, the conditions for therapeutic use. The NDA must also provide data from

randomized and well-controlled clinical trials that demonstrate that the drug will be safe and
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effective when used in accordance with the proposed labeling.

29. Without NDA approval, any new drug is prohibited from introduction into interstate
commerce. Once the NDA and proposed labeling are FDA approved, the sponsor is permitted to
promote and market the drug only for the medical conditions specified for use in the approved
labeling. Uses which have not been FDA approved are known as “Unapproved” or “Off-Label”
uses.

30. Before a drug can be labeled or promoted for a use different from the FDA approved
uses, the sponsor is required to submit a new, or amend an existing, NDA. This too, requires
submission of data from randomized and well-controlled clinical studies, sufficient to
demonstrate that the drug would b safe and effective for the newly proposed use or uses.

31. A drug is misbranded if the labeling does not contain adequate directions for use. If
the label contains directions for Unapproved uses, the directions would be misleading and the
drug misbranded.

32. 21 U.S.C. §§ 331{a)(d), 333(a@) and 355, prohibit distribution in interstate commerce
of an unapproved new drug or misbranded drug.

33. In or about 1993, WARNER-LAMBERT submitted an NDA for approval of a new
drug, Neurontin (known chemically as gabapentin). The application sought approval for
Neurontin only for use as an adjunctive therapy in the treatment of partial seizures, with and
without secondary generalization, in adults with epilepsy. Adjunctive therapy limits the
prescription of the drug such that it cannot be prescribed as the lone treatment of epilepsy, but as
an add-on drug in cases where a primary anti-epilepsy drug is not successful. On or about

December 30, 1993, the FDA approved Neurontin only for that specific use (the “Approved *
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use).

34. From at least June, 1995, through at least August 20, 1996, Unapproved uses for
Neurontin included, but were not limited to, post-herpetic neuralgia, painful diabetic neuralgia,
anxiety disorder, social phobias, bipolar disorder, alcohol withdrawal syndrome, amyotrophic
lateral sclerosis (ALS), spinal cord injury, essential tremor, restless leg syndrome, reflex
sympathetic dystrophy (RSD); and migraine headaches, “Enumerated Unapproved Uses.” The
market for Neurontin’s Off-Label uses for pain management, psychiatric disorders, anxiety and
depression, were much larger than the market for epilepsy adjunctive therapy alone.

35. WARNER-LAMBERT did not file anew NDA seeking FDA approval for any of the
Enumerated Unapproved Uses during the Class Period,'

36. WARNER-LAMBERT conducted an evaluation of the market potential for certain of
the Unapproved uses for Neurontin including, but not limited to, post-herpetic neuralgia, painful
diabetic neuralgia, anxiety disorder, social phobias, and bipolar disorder.

37, Some of WARNER-LAMBERT’s annual strategic marketing plans and planning
documents for Neurontin included quarterly and annual budget, goals, objectives, strategies, and
tactics for increasing sales for Unapproved uses.

38. From early 1995, on repeated occasions, WARNER-LAMBERT specifically
determined not to seek FDA approval for certain Unapproved uses.

39. Instead, Defendants recognized the potential for significant profit in the OffLabel

promotion of Neurontin for Unapproved uses and at higher dosages even though there was little,

‘Of the Enumerated Unapproved Uses, only post-hepatic neuralgia has ever received FDA
approval, and that approval was applied for and received after the events described herein.

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if any, scientific evidence suggesting Neurontin was safe and effective for such uses.

40, A July 1995 assessment of Neurontin’s market potential for neuropathic pain stated
that there was no intention to develop the use at that point, which would have required
submission of an NDA for FDA approval.

41. In or about the fall of 1995, WARNER-LAMBERT created a planning document for
the sale and marketing of Neurontin including conference calls on pain and a pain consultant
meeting, and referring to Neurontin as a pain treatment.

42. Ina 1995 Marketing Assessment of proposed psychiatric uses for Neurontin,
WARNER-LAMBERT forecast potential revenue from sales of Neurontin for Unapproved uses
of bipolar and anxiety treatment taking into consideration both FDA approval and non-approval.
WARNER-LAMBERT reviewed the potential psychiatric uses and concluded that the company
would not seek FDA approval for these Unapproved uses of Neurontin.

43. Two of the principal factors behind the determination to limit FDA approval for
Neurontin involved the short patent protection available for Neurontin, and the potential
competition with the sale of another drug developed by WARNER-LAMBERT of which FDA
approval was expected for use of the new drug for treatment of some of Neurontin’s Unapproved
uses.

44. From at least June, 1995 through August, 1996, WARNER-LAMBERT promoted
the sale and use of Neurontin for other than Approved uses through the use of promotions
through sales representatives, Medical Liaisons, consultants’ meetings and advisory boards, and
teleconferences, grants and studies, to name a few.

45. Defendants’ marketing schemes were carried out through the use of the following

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actions:

illegal direct solicitation of doctors for Unapproved or Off-Label uses;

making false statements to doctors concerning the safe and efficient use of
Neurontin for Off Label and Unapproved uses;

- illegal kickbacks to doctors who wrote a high number of prescriptions for
Neurontin for Off-Label purposes to patients such as Plaintiff and the Class
members who purchased Neurontin;

- creation of a group of employees who were misleadingly titled “medical liaisons”
which did not include any legitimate scientific or medical activity, but who
actually acted as conventional direct sales persons;

- specially training Defendants’ employees in ways to illegally solicit doctors in the
Unapproved or Off-Label uses of Neurontin in an effort to avoid or get around the
laws limiting solicitation of doctors for such uses;

- offering or paying Defendants’ employees to maintain their silence as to
Defendants’ illegal activities described, in part, herein;

SALES REPRESENTATIVES PITCHING NEURONTIN FOR UNAPPROVED USES
46. In October 1995, a memorandum from a member of WARNER-LAMBERT’s
Epilepsy Disease Team noted that data purchased from an outside vendor showed that doctors
had reported the main sales pitch from 10 of 50 WARNER-LAMBERT’s sales representatives
was for the Off-Label use of Neurontin.
47. In 1996, a sales representative created a document entitled “Neurontin Can Do/Can’t

Do,” which suggested that sales reps ask doctors whether they ever used “other” anti-epileptic

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drugs for painful neuropathies, and mentioning that approximately 35% of all Neurontin use is
for non-seizure. The document also suggested using lunch programs to pitch Neurontin and pain.

48. Atleast as early as July 1996, WARNER-LAMBERT sales representatives were
meeting with doctors to discuss the use of Neurontin for the treatment of pain.

- USE OF MEDICAL LIAISONS TO PROMOTE UNAPPROVED USES OF NEURONTIN

49. WARNER-LAMBERT employed “Medical Liaisons” who worked with sales
representatives in preparation of and sales presentations to physicians and physicians’ groups.
Medical Liaisons were introduced as specialists in the drug they were presenting, which was
untrue. Medical Liaisons and sales persons were encouraged to represent the Medical Liaisons as
medical researchers or physicians, both of which were untrue.

50. In 1996, a WARNER-LAMBERT Medical Director sent a voice mail to the Medical
Liaison in his territory urging them to make the sale of Neurontin for pain their main sales focus.
This message was interpreted by the Medical Liaisons as meaning that they should promote
Neurontin for Unapproved uses, and this was done on one occasion specifically promoting
Neurontin for the Unapproved use of treatment for neuropathic pain.

51. On at least one occasion a Medical Liaison promoted the use of Neurontin for
Unapproved uses to a group of physician members of a local medical society, and the
presentation was highly acclaimed by WARNER-LAMBERT officials.

52. Medical Liaisons were used to make false sales pitches to doctors regarding
scientific information concerning the following Off-label uses of Neurontin: Bipolar Disorder,
Peripheral Neuropathy, Diabetic Neuropathy, and other Pain Syndromes, Epilepsy Monotherapy,

Reflex Sympathetic Dystrophy, Attention Deficit Disorder, Restless Leg Syndrome, Trigeminal

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Neuralgia, Post-Herpetic Neuralgia, Essential Tremor Periodic Limb Movement Disorder,
Migraine Headaches, and Drug and Alcohol Withdrawal Seizures. In most cases, Medical
Liaisons informed the doctors that certain studies, reports or scientific evidence existed with
respect to using Neurontin in the successful treatment of the above Off-label uses, when in fact
no such study, report or evidence existed, such were inconclusive, or the only support for these
claims was based on anecdotal evidence of nominal scientific value, rather than scientific or
clinical trial data. Further, references to reports or evidence which did exist were primarily those
which had been created or sponsored by Defendants as mere “studies.”

USE OF CONSULTANT AND ADVISORY BOARD MEETINGS
TO PROMOTE UNAPPROVED USES OF NEURONTIN

53. On numerous occasions, Defendants paid kickbacks to doctors who attended
“consultants’ meetings,” the purposes of which were to promote and encourage the Off-label uses
of Neurontin. Defendants disguised these kickbacks as “consultantships” since the federal rules
prohibit kickbacks in exchange for prescribing a particular drug.

54. Under this scheme, Defendants solicited and paid doctors to attend dinners or
conferences to listen to lengthy presentations of Off-label uses of Neurontin. These doctors were
acting as “consultants” at these meetings, and some doctors even signed sham consulting
agreements.

55. The presentations were made by Defendants’ employees or doctors hired by
Defendants for the purpose of promoting Neurontin. Attendees were solicited to ask questions
about Neurontin, and in some instances Defendants posed questions to the speakers about the

Off-label uses of Neurontin to expose the attendees to such information.

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56. At some meetings, the consultants were asked if they would write more prescriptions
for Neurontin as a result of the meeting. This would have been an irrelevant question if the true
purpose of the meeting was to receive the consultants’ advice. Defendants even used outside
third party marketing firms to track whether the attendees had written more Neurontin
prescriptions after the meetings. This was only relevant data if the true purpose of the paid
meetings was to solicit the attendees to prescribe more Neurontin.

57. In 1996,a consultants’ meeting was put on by WARNER-LAMBERT with
approximately 42 physicians in attendance, invited in part based on the large number of
prescriptions for Neurontin the physicians had written. Although the presentations were
provided by Proworz, an independent company, Defendants created, monitored and approved all
aspects of the program, including selection of the speakers, selection of the topics for
presentation, and approval of the presentation contents. Two half-day presentations were given
relating to Neurontin, in which nine physicians pave presentations related to the use of Neurontin
for treatment of Unapproved uses. Two other presentations were made at the 1996 consultants’
meeting in which the use of Neurontin for the Unapproved use of pain treatment was promoted
and urged.

58. The faculty doctors at the consultants’ meeting were paid between $1,500 and
$2,000 each for their presentations. Additionally, WARNER-LAMBERT paid for
accommodations, meals and an honorarium to each doctor who attended.

59. Between 1995 and 1997, Defendants hosted at least twenty-two (22) consultants’
meetings, similar in nature to the above described 1996 consultants’ meeting. Although some

meetings were not as elaborate or expensive as the 1996 meeting described above, many

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meetings involved expensive dinners at local restaurants in which $200 “honorariums” were paid
to the doctors who attended.

60. Following one of the 1996 consultants’ meetings, the promotional materials from the
meeting were generated to some of the WARNER-LAMBERT employees, with accolades of the
messages delivered about the use of Neurontin. As a follow-up to the meeting, certain
WARNER-LAMBERT employees were asked to track the effects of the meeting on physicians
who had attended based on the number of prescriptions they were writing for Neurontin.

61. Ata 1996 advisory board meeting, WARNER-LAMBERT instructed some of the
speaking physicians to address Unapproved uses of Neurontin, and some did so. WARNER-
LAMBERT paid all expenses for the doctors at this meeting and also paid all expenses for their
spouses, including attendance at the Olympics and closing ceremonies.

62. A 1996 memorandum to WARNER-LAMBERT sales representatives listed two
goals: the use of Medical Liaisons to target the Neurontin pain and psychiatric market and the use
of pain teleconferences moderated twice weekly by key neuro consultants, to 250 physicians
quarterly.

63. Teleconferences by WARNER-LAMBERT have been utilized to promote Neurontin
for Off-Label uses. These teleconferences have been conducted by employees, pain specialists,
Medical Liaisons and at least on one occasion, by a WARNER-LAMBERT Medical Director.

USE OF GRANTS AND STUDIES TO BOOST NEURONTIN SALES

64. Defendants used payments, in the form of grants and studies to reward loyal

Neurontin prescribers,

65. Defendants awarded at least twelve (12) “educational grants” to physicians who

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were willing to prescribe Neurontin or programs which were willing to host Neurontin advocacy
speakers. These grants were charged to the Neurontin marketing budget.

66. Defendants also paid at least nine (9) leading Neurontin prescribers to conduct
advocacy “studies” of Neurontin which were actually of questionable scientific credibility. The
doctors did not engage in significant work for these studies, which often required little more than
gathering and writing up office notes or records. These studies were not reported to the FDA, or
were concealed from the FDA, because Defendants knew they would not be deemed studies by
the FDA since the “research” had no scientific value.

67. One study, the STEPS program, financially rewarded physicians for prescribing
large amounts of Neurontin. STEPS was couched as a clinical research trial, but targeted
neurologists to prescribe Neurontin at higher doses than indicated by the FDA approved labeling.
The STEPS program called for over 1,200 “investigators” to enroll a few patients each. The
physicians were instructed to demonstrate that their patients could tolerate high dosages of
Neurontin by putting their patients on higher dosages of Neurontin than FDA labeling allowed.
The physicians were paid not only for participating in the study, but for every patient enrolled.
The physicians were offered payments of additional case for each patient the doctor kept on
Neurontin after the study ended.

68. As well, given the nature of the study, STEPS had the effect of encouraging
physicians to place non-study patients on Neurontin on higher doses than found effective by the
FDA. Of course, the STEPS program was designed and intended to result in increased sales of

Neurontin due to higher per patient dosages sold.

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COUNT I: VIOLATION OF THE TENNESSEE TRADE PRACTICES ACT
T.C.A. §47-25-101, ET SEQ.

69. Plaintiff incorporates by reference all of the preceding paragraphs of this Complaint
as though fully set forth herein.

70. Defendants made the above misrepresentations to doctors knowing and intending
that the doctors would rely on these misrepresentations when prescribing Neurontin to their
patients. As a result, the doctors did so, and consequently provided inaccurate and untruthful
medical advice to their patients.

71. Defendants are liable to the Plaintiff and the Class for violation of the TTPA for
arranging, contracting, agreeing or combining with persons or corporations with a view to lessen,
or to tend to lessen, full and free competition in the importation or sale of Neurontin into
Tennessee, and such arrangements contracts, agreements or combinations with persons or
corporations were designed or tended to advance, reduce or control the price or the cost of
Neurontin to the consumers of the State of Tennessee, in violation of the Tennessee Trade
Practices Act, T.C.A. §47-25-101, et seq.

72. Asa direct and proximate result of the aforesaid violations of TTPA, Plaintiff and
the Class members have suffered financial losses and, as such are entitled to recover the full
consideration or sum paid by such persons for Neurontin.

73. Plaintiff and the Class members are also entitled to an injunction restraining
Defendants from the sale of Neurontin in Tennessee.

COUNT II: VIOLATION OF THE TENNESSEE
CONSUMER PROTECTION ACT OF 1977 T.C.A. § 47-18-104, ET SEQ.

74, Plaintiff incorporates by reference paragraphs 1 through 46 of this Complaint as

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though fully set forth herein.

75. Defendants disseminated false and misleading information to consumers and others
in the United States, including Tennessee, stating or insinuating that the United States Food and
Drug Administration (“FDA”) approved Neurontin for the treatment of Unapproved uses.

76. Defendants disseminated false and misleading information to consumers and others
in the United States, including Tennessee, claiming that Neurontin had been effective in the
treatment of certain ailments, when in fact, the use of Neurontin was no more effective than the
use of placebo.

77, Defendants knew that the false and misleading information to consumers and others,
would come at the direct expense of consumers in the United States, including Tennessee, who
pay for and consume prescription drugs.

78. Defendants’ misrepresentations deceived or tended to deceive Plaintiff and Class
members as to the approved, beneficial and intended uses of Neurontin.

79. Defendants’ misrepresentations influenced purchasing decisions of consumers and
others, including Plaintiff and Class members.

80, Defendants’ misrepresentations injured or were likely to injure Plaintiff and Class
members.

81. Defendants are liable to Plaintiff and the Class for violation of the following, under
the Tennessee Consumer Protection Act of 1977, T.C.A. §47-18-101, et seq.:

a) For causing the likelihood of confusion or of misunderstanding as to the
approval or certification of Neurontin for the purposes of which it was marketed and sold to

Plaintiff and the Class, T.C.A. §47-18-104(b)(2);

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b) For representing that Neurontin had approval for uses or benefits that
Neurontin did not have, T.C.A. §47-18-104(b)(5)

c) For using statements or illustrations in advertising Neurontin which created a
false impression of the grade, quality, make, value or usability of Neurontin, or which may have
otherwise misrepresented Neurontin in such a manner that later, on disclosure of the true facts,
there is a likelihood that Plaintiff and Class members may be switched from Neurontin to other
drugs, T.C.A. §47-18-104(b)(2.1);

d) For otherwise engaging in the above enumerated acts or practices in the sale
and/or marketing of Neurontin which were deceptive to consumers in the State of Tennessee,
T.C.A. §47-18-104(6)(27).

82, Defendants’ unfair or deceptive acts were in willful and knowing violation of the
TCPA, entitling Plaintiff and the Class to treble damages as well as such other relief as the court
determines necessary and proper.

83. Plaintiff and the Class members are also entitled to an injunction restraining
Defendants from the sale of Neurontin in Tennessee.

COUNT 1: UNJUST ENRICHMENT/RESTITUTION

84. Plaintiff realleges and incorporates by reference all of the foregoing paragraphs.

85. Defendants have been unjustly enriched by the illegal sale and marketing of
Neurontin. Plaintiff and Class members demand that Defendants be ordered to return all monies
iliegally collected from Plaintiff and Class members, plus interest in violation of the antitrust and
consumer protections laws of Tennessee. Plaintiff does not seek disgorgement of any common

and/or undivided fund, but seeks as restitution only those monies illegally collected from them as

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a result of the unfair or deceptive conduct described herein.

86. Defendants have benefitted from their illegal restraints of trade and unfair or
deceptive acts and practices through the illegal sale and marketing practices resulting in damages
to Plaintiff and Class members who paid for Neurontin.

87, It would be inequitable to permit Defendants to retain any of the illegal gotten
monies paid for Neurontin.

COUNT IV: MONEY HAD AND RECEIVED

88. Plaintiffrealleges and incorporates by reference all of the foregoing paragraphs.

89. Defendants, through their unlawful conduct, have reaped substantial profits from the
payment by Plaintiff and Class members for Neurontin. Plaintiff and Class members have
conferred a benefit upon Defendants through a mistake of fact. In equity and good conscience,
Defendants should not be allowed to retain this benefit. Plaintiff and Class members demand
that Defendants be ordered to return all such monies illegally collected, plus pre-judgment
interest.

90. Based upon the foregoing illegal, unfair, or deceptive conduct, and the resulting
payments made by Plaintiff and the Proposed Class members for Neurontin, Defendants owe
Plaintiff and the Proposed Class members for money had and received.

FRAUDULENT CONCEALMENT, CONTINUING VIOLATIONS
AND EQUITABLE TOLLING

91. Plaintiff realleges and incorporates by reference all of the foregoing paragraphs.
92, Plaintiff and Class members did not discover, and could not discover through the

exercise of reasonable diligence, the existence of the claims sued upon until recently because

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Defendants actively, intentionally, and fraudulently concealed the existence of the arrangements,
contracts, agreements or combination to illegally market and sell Neurontin from Plaintiff and
the Class by one or more of the following affirmative acts:

(a) Marketing Neurontin for treatment of Unapproved uses;

(b) Soliciting doctors to prescribe Neurontin for the treatment of Unapproved _
uses;

(c) Concealing publication of reports which found that Neurontin was no more
effective in treating unapproved uses than other drugs, or placebos, yet representing to physicians
and the general public that Neurontin was more effective in treating those Unapproved uses than
other drugs.

-93, Any applicable statutes of limitation have been tolled by Defendants’ affirmative
acts or concealment and continuing misrepresentations. Through such affirmative acts of
concealment, misrepresentation and continuing sales of Neurontin for Unapproved uses,
Defendants have been able to conceal from Plaintiff and Class members the truth about the
effective and Approved uses of Neurontin, tolling the running of the applicable statutes of
limitation.

94, Because of the self-concealing nature of Defendants’ actions, and their affirmative
acts of concealment and misrepresentation, Plaintiff asserts the tolling of any applicable statutes
of limitations affecting her claims. Defendants’ unlawful conduct is also continuing, tolling the
applicable statute of limitations.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff and Class pray that the Court enter judgment as follows:

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A. Declaring and certifying this action as a proper class action and Plaintiff as the proper
class representative;

B. On Counts I and II:

1. On Count, that the Court find, adjudge and decree that Defendants have
engaged in an illegal agreement, arrangement, contract or combination in violation of the
Tennessee Trade Practices Act, T.C.A. §47-25-101, et seq., and that the Court award Plaintiff
and Class members their full consideration paid, injunctive relief and for all other damages
available.

2. On Count I, that the Court find, adjudge and decree that the Defendants have
engaged in unfair or deceptive practices in violation of the Tennessee Consumer Protection Act
of 1977, T.C.A. §47-18-101, et seq., and award Plaintiff and Class members: (a) actual damages
in a amount to be proved at trial, plus interest and costs; (b) treble damages, where appropriate,
for all losses and injuries suffered as a result of Defendants’ illegal actions, with the amount of
damages to be determined at trial; c) injunctive relief; and, (d) appropriate restitution.

C. On Count Hl, that the Court find, adjudge and decree that Defendants have received
payments from Plaintiff and Class members that they were not justly entitled to receive, and that
the Court award Plaintiff and the Class restitution for Defendants’ unjust enrichment, plus pre-
judgment interest.

D. On Count IV, that the Court find, adjudge and decree that Defendants have received
monies which they were not entitled to lawfully receive or retain and that Plaintiff and Class
receive compensatory damages for their injuries, plus pre-judgment interest and costs.

E. That the Court order such other, further and general relief as the Court may deem just

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and proper, including prejudgment interest on all Pina fh
Respectfully submitted, this A@ _ dayof A , 2004.

AT SORNEYS FOR PLAINTIFF
“Gordon Ball

LL
Le
Ball & Scott

550 W. Main Avenue, Suite 750
Knoxville, TN 37902
(865) 525-7028

Robertson & Overbey

The Farragut Building

530 South Gay Street, Suite 802
Knoxville, Tennessee 37902-1537
(865) 521-3010

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Case 1:04-cv-10981-PBS Document 37-3 Filed 01/21/05 Page 24 of 68

IN THE CIRCUIT COURT FOR COCKE COUNTY, TENNESSEE
AT NEWPORT
BAUDA VAUDA LEE SUTTON,
Plaintiff,

Vv,

Civil Docket No. 24 , W7 ~TE—

PFIZER, INC. and
WARNER-LAMBERT, CO., LLC

Defendants

Neneh Nel Nee Niet ee Ninel Ne Te eh Ne te Nee

COST BOND

We acknowledge ourselves sureties for costs in this action.

CIRCUIT COURT

FILED
AUG 1 1 2004
PEGGY W. LANE Ball & Scott
IRCUIT COURT CLERK ’ .
c Cocke County, TN 550 W. Main Avenue, Suite 750

Knoxville, TN 37902
(B65) 525-7028
Case 1:04-cv-10981-PBS Document 37-3 Filed 01/21/05 Page 25 of 68

AQ 2458 Sheet 1 - Judoment ing Criminal Case - D, Massachusetts (10/07)

United States District Coy

District of Massachusetts . PIGINA yy

UNITED STATES OF AMERICA JUDGMENT TN A CRIMINAL CASE
v. {For Offenses Committed On or After November 1, 1987}

WARNER-LAMBERT COMPANY, LLC Case Number: 1:04 CR 10150 01 RGS

ROBERT FISKE, JR.

Defandant’s Attorney
THE DEFENDANT:
- [X|pieaded guilty to count(s):_| AND 2 OF AN INFORMATION
pleaded nolo contendere fo counts(s) which was accepted by the court
was found gullty on count(s) after a plea of not guilty.

Accordingly, the court has adjudicated that the defendant is guilty of the following offense(s):
Date Offense Gount

Title & Section Nature of Offense Concluded Number{s)
21 USC 331({d),
333{aj(2), 355(a) DISTRIBUTION GF AN UNAPPROVED NEW DRUG 08/20/96 1

21 USC 331(H),
333(a)(2), 452(0(1) DISTRIBUTION OF A MISBRANDED DRUG (nadequate Directions

for use} 08/20/06 2
[ ]See continuation page

The defendant is sentenced as provided in pages 2 through - 3 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1964.

L The defendant! has been found not guilty on counis(s) and
is discharged as to such count{s).

LJ Count(s) is dismissed on the motion of the United States.

IT IS FURTHER ORDERED that ths defendant shall notify the United States Attorney for this district within 30 days
of any change of name, residence, or mailing address unill all fines, restitution, costs, and special assessments
imposed by this judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United
States Attorney of any material change in the defendant's economic circumstances,

f 06/07/04
Defendant's Soc. Sec, No.: Datgef In) position |bf Jupidment
Defendant's Date of Birth: . loony)
Signature of Judicial Officer

The Honorable Richard G. Steams
Defendant's Rasidance Address: Name and Title of Judicial Officer

Defendant's USM Na.:

Judge, U.S. District Court
Dale

Defendant's Malling Address: G | - 0 ot
Same as above

Case 1:04-cv-10981-PBS Document 37-3 Filed 01/21/05 Page 26 of 68

— AQUMSR Judgment ina Crinainel Cur ~ D. Musarehusctts (10/01)
Sheet 5, Pon A — Criminu! Monetary Penalties

Judgment Page 20f 3
CASE NUMBER; 1:04 CR 10150 01 RGS

JRFENDANT: WA RNER-LAMBERT COMPANY, LLC
CRIMINAL MONETARY PENALTIES

The defendant shall pay the following total criminal monctary ponaltics in accordance with the schedule of peyments set forth on

Sheet 5, Part B.
TOTALS $800.00 $240,000,000.00
J The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C) will be entered

afler such determination.

[| The defendant shall make restitution (including community restitution) to the followlng payees in the amouat listed below.

Tf the defendant makes a partial payment, each payee shall receive an approximately pro orlioned payment, unleys specified othenyise in
the priority order or perventage puyment column below. However, pursuant to 18 U.8.C, § 36640 _ all nonfederal victims must be paid
in full prior to the United States receiving payment.

Priority Order

*Total Amount of or Percentage
Name of Payee Alount of Lass Restitution Ordered af Payment
Ser
Continuation
Page
TOTALS $0.00 . $0.00

i] Tf applicable, restitution amount ordercd pursuant to plea agresment

The defendant shall pay interest on any fine or restitution of more than $2,500, unless the finc or restitution is pald in full before the
fiftcenth day after the date of the judgment, pursuant to 18 U.S.C. § 36127), All ofthe payment options on Sheet 5, Part B may be
subject ty penultics for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

T] The court determined that the defendunt does not have the ability to pay Interest, and it is ordered that:
[|e interest requirement is waived for the C1 fine and/or CJ restitulion,

[J the interest requirement for the L] fine and/or [ ] restitution is modified as follows:

* Findings for the total amount of losses are required under Ch ap
committed on or atier September 43, 1994 but before April 23,

sp ters 109A, 110, 110A, and 1134 of Title 18, United States Code, for offenses

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| AQ MSR Judgment in a Criminal Care - D. Mosauchusctts aan
Sheet 5, Part 8 — Criminal Nionctory Penallies

Judgment - Page oat 3
CASE NUMBER: 1:04 CR 10150 01 RGS

DEFENDANT: wARNER-LAMBERT COMPANY, LLC

SCHEDULE OF PAYMENTS

Having ussesyed the defendunt’s abilily to pay, payment of the total criminal monetary penalties shall be due as follows:
A [J Lump sum payment of due immediately, balance due
O nut laler than ,ur

[Jin accordance with [_] C, [ |D,or  [] E below; or
B [| Payment to bepin immediately (may be combined with C, D, or & below); or

Cc [| Payment in (ee., equal, weekly, monthly, quarterly) installments of aver a period of
(e.g., months or years), lo commence {e.g., 30 or G0 days) after the date af this judgment, or

D [J Payment in (e.g., equal, weekly, monthly, quarterly) instalfroents of over a periad of
(e.g. months or years), to commence {e.g,, 30 or 60 days) after release {fom imprisonment to a

term of supervision; or
E [x] Special instructions regarding Uhe payment of criminal monctary penalties:
THE SPECTAL ASSESSMENT SHALL BE PAID FORTIZWITH;

THE FINE SHALL BE PALD WITHIN 15 DAYS OF THE DATE OF IMPOSITION OF
SENTENCE.

Unless the court has expressly ordered otherwise In the special instruction above, if this judyinent imposes a period of imprisonment, payment
of criminal monetary penalties sball be duc during the period of imprisonment, All crimina monclary penultics, cxeept those payments made
throuyh the Federal Burcan of Prisons’ Inmate Vinancial Responsibility Program, are made to the clerk of the court, unless otherwise directed
by the court, the probation officer, or the United Statcs attorney,

The defendant shall receive eredit for all payments previously made toward any criminal monctary penalties imposed.

[_] Joint und Several

Casc Number, Defendant Name, and Joimt and Several Amount,

[_] See Continuation

Cl The defendant shall pay the cost of prosecution. Pay

J The deftmelant shall pay the following court cost(s):

CJ The defendant shall forfeit the defendant's interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution intcrest, (4) fine principal,
(3) community restitation., (4) fing interest (7) penaltles, and (8) couts, including cast 8 Oa tin and court oe Paneie

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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

ee Kk & & & KF BF KR KF KF KK KF OF

UNITED STATES OF AMERICA

*

*
ve. * CRIMINAL ACTION
* No. 04-10150-RGS
*
*
*

WARNER-LAMBERT COMPANY LLC

kok kk & & & KF k eK KK KF KK K OF

BEFORE THE HONORABLE RICHARD G. STEARNS
UNITED STATES DISTRICT JUDGE
WALVER, CHANGE OF PLEA AND SENTENCING HEARING

APPEARANCES

OFFICE OF THE UNITED STATES ATTORNEY
1 Courthouse Way, Suite 3200
Boston, Massachusetts 02210
for the United States
By: Thomas E. Kanwit, AUSA
Sara M. Bloom, AUSA
Jill Furman, Trial Attorney

DAVIS POLK & WARDWELL

450 Lexington Avenue

New York, New York 10017

for the defendant

By: Robert B. Fiske, Jr, Esq.
James P. Rouhandeh, Esq.
Martine M, Beamon, Esq.

Courtroom No. 21

John J. Moakliey Courthouse
1 Courthouse Way

Boston, Massachusetts 02210
June 7, 2004

2:30 p.m.

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APPEARANCES, CONTINUED

HARE & CHAFFIN

160 Federal Street, 23rd Floor
Boston, Massachusetts 02110-1701
for the defendant

By: David B. Chaffin, Esq.

CAROL LYNN SCOTT, CSR, RMR
Official Court Reporter
One Courthouse Way, Suite 7204
Boston, Massachusetts 02210
(617) 330-1377

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PROCEEDINGS

THE CLERK: Court is open. You may be seated.
This is United States of America versus
Warner-Lambert Company, Criminal No. 04-10150.
Would all counsel please identify themselves for
the record.
WR. KANWIT: Good afternoon, Your Honor.
Thomas Kanwit for the United States.
MS. FURMAN: Good afternoon, Your Honor. Jill
Furman for the United States.
MS. BLOOM: Sara Bloom on behalf of the United
States.
‘MR. CHAFFIN: Good afternoon, Your Honor.
David Chaffin for the defendant Warner-Lambert Company LLC.
And Your Honor has admitted previously pro hac
vice, on my furthest right Robert Fiske from Davis Polk &
Wardwell.
MR. FISKE: Good afternoon, Your Honor.
THE COURT: Good afternoon.
MR. CHAFFIN: Attorney Jim Rouhandeh, Davis
Polk & Wardwell.
MR. ROUHANDEH: .Good afternoon, Your Honor.
THE COURT: Good afternoon.
MR. CHAFFIN: This is Martine Beamon from

Davis Polk & Wardwell --

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MS. BEAMON: Good afternoon.
MR. CHAFFIN: -- also admitted pro hac vice.

And this is Martin Teicher who is the vice
president of Warner-Lambert Company LLC.

Thank you, Your Honor.

MR. TEICHER: Good afternoon, Your Honor.

THE COURT: Mr. Rouhandeh, I understand you
are going to be the principal spokesperson for the defense?

MR. ROUHANDEH: Yes, that's correct, Your
Honor .

THE COURT: All right.

Just to inventory what's before me, I received a
copy of the plea agreement , a copy of the Information that
is proposed to be filed in this case, a copy of the
settlement agreement entered in the related qui_tam action,
the Sentencing Memorandum supplied by the government and a
similar memorandum supplied on behalf of the defendant
Warner-Lambert, one letter from outside counsel objecting to
some of the terms of the plea agreement which I think is
alluded to in the government's sentencing memorandum.

And further I received today a proposed waiver of
indictment in the case and a secretary's certificate
certifying that the Board of Directors has designated
Mr. Teicher to represent the company as attorney in fact.

So why don't we begin by swearing in Mr. Teicher.

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THE CLERK: Mr. Teicher, would you stand and
raise your right hand, please.

Martin Teicher, on behalf of Warner-Lambert Company
do you solemnly swear that you will tell the truth, the
whole truth and nothing but the truth in the matter now in
hearing, so help you God?

MR. TEICHER: I do.
THE CLERK: Please take a seat right up there
(indicating), sir.

Mr. Rouhandeh, if you would just stand beside him,
please.

THE COURT: Mr. Teicher, my name is Richard
Stearns. I ama judge of the United States District Court.
I am going to be asking some questions as this proceeding
transpires.

I think most of these questions are going to be
very familiar to you, as I am sure your attorneys have very
carefully prepared for this presentation today.

But should anything I say seem confusing or any
question seem imprecise, either ask me to rephrase it or
feel free to consult with counsel before you answer. All
right?

MR. TEICHER: Thank you, Your Honor.
THE COURT: Can you tell us your full name and

title for the record.

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MR. TEICHER: My name is Martin Teicher. I am
a Vice President of Warner-Lambert Company LLC.

THE COURT: All right. Mr. Teicher, you are
familiar with what purports to be the minutes of the meeting
held by the managers of Warner-Lambert on May 11, 2004?

MR. TEICHER: I am on the Board of Directors
of Warner-Lambert.

THE COURT: And this resolution authorizes you
to, in fact, appear for Warner-Lambert as attorney in fact;
am I correct?

MR. TEICHER: Yes.

THE COURT: And the action of the Board of
Directors in enacting this resolution was in the authority
of the Board under the Articles of Incorporation?

MR. TEICHER: I believe so, Your Honor.

THE COURT: All right. Have you discussed --
and, again, I am asking more by way of formality, but it is
an important question.

Have you discussed with counsel what it means for
the corporation to waive indictment in this case?

MR. TEICHER: Yes.

THE COURT: Do you understand that the crimes,
although they are treated as felonies because of a prior
conviction of the company, are nonetheless charged as

misdemeanors? ‘Ordinarily the prosecutor has no authority on

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his or her own to bring in the form of an indictment a

felony or a charge with the consequence of a felony crime
without obtaining the prior permission of a citizen panel
called a grand jury to do so.

By waiving indictment in this case, Warner-Lambert
is permitting the government to proceed as if it, indeed,
had the consent of the grand jury to bring these charges.
Although this is captioned as an "Information," the crimes,
again, as I stated before are felonies.

Do you understand that Warner-Lambert by agreeing
to waive indictment is giving up its right to require the
government to present this case first to a grand jury to
obtain the acquiescence of a grand jury in the Information?

MR. TEICHER: I do understand that, Your
Honor.

THE COURT: Is it the advice of counsel that
it is in the best interests of the corporation to proceed by
waiver of indictment?

MR. THICHER: Yes, Your Honor.

THE COURT: Does either counsel or Mr. Teicher
know of any untoward threats or inducements that were given
to Warner-Lambert to bring about the waiver of indictment in
this case?

MR. THICHER: No.

MR. ROUHANDEH: No, Your Honor.

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THE COURT: Mr. Teicher, it is also your
judgment that it is in the best interests of Warner-Lambert
to proceed by way of Information?

MR. TEICHER: Yes.

THE COURT: All right. I find that the
decision to proceed by waiver of indictment is a voluntary
one and one made in the best interests of the corporate
defendant. We will accept the waiver.

Mary, would you have Mr. Teicher sign the waiver.

THE CLERK: Yes.

(Pause in proceedings. )

THE COURT: All right. The waiver of
indictment having been executed by Mr. Teicher, I will so
witness the acceptance by signing and dating the waiver
provided.

Now, Mr. Teicher, before I proceed with the
Information, could you for the record -- because I think
this may help clarify the factual basis for the Information
to some degree -- could you explain the interrelationship
between Parke-Davis, Warner-Lambert and Pfizer Corporation?

MR. TEICHER: I believe that Parke-Davis was
an internal operating division of Warner-Lambert. And
Warner-Lambert is currently, since June of 2000, a
subsidiary of Pfizer Corporate.

THE COURT: Have you reviewed the Information

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with counsel and has the Board of Directors reviewed the
Information?

MR. TEICHER: Yes.

THE COURT: All right. Do you feel -- and,
again, I am asking now to speak not only on your own behalf
but on behalf of the Board of Directors.

Do you feel that you understand the two criminal
charges contained in the Information?

MR. TEICHER: Yes.

THE COURT: Has counsel explained to you and
to the Board of Directors the so-called, what a lawyer would
call elements of these crimes, that is, the distinctive
Features of the crimes that the government would be required
to prove beyond a reasonable doubt to obtain a conviction on
both Counts 1 and 2?

MR. TEHICHER: Yes.

THE COURT: All right. Let me simply
summarize, and counsel can correct me if my summary is
wrong.

Count 1 -- again, while a misdemeanor, it appears
in the criminal code, because, as I said before, of the
prior conviction, it has a felony consequence -- charges
distribution of an unapproved drug. As framed this count
would require proof of a prior conviction as I mentioned

under the same operative statutes.

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The sale of the drug with the tradename Neurontin
was introduced in interstate commerce for unapproved uses
and without prior FDA approval.

This crime, like Count 2, is a direct liability
offense, that is, the government would not have to prove
scienter but would have to prove the four elements I just
described.

So too with Count 2 which alleges distribution of a
misbranded drug. As framed this would require proof of a
prior conviction under the same operative statutes, the sale
of the drug under the tradename Neurontin in interstate
commerce, and unapproved uses without adequate directions
being provided to physicians and consumers for such uses.

These would be the elements that the government
would have to prove.

Do T have them correctly stated, Counsel?

MR. KANWIT: Yes, you do, Your Honor.

MR. ROUHANDEH: Yes, Your Honor.

THE COURT: Do you understand that --

MR. TEICHER: Yes.

THE COURT: -- that is what would be involved?

All right. Now, let me ask Mr. Kanwit to

explain -- and I realize that there is more art than perhaps
science in this -- but explain the maximum penalties to the
offense.

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MR. KANWIT: Yes, Your Honor. The maximum
penalties under 21 U.S.C., Section 333(a)(2) would be three
years and a $10,000 fine. However, 18 U.S.C. provides for a
$500,000 fine. And 18 U.S.C., Section 357(1) (d) provides
for a fine of two times the pecuniary gain or loss. And the
appropriate fine is the maximum of those.

Therefore, it's the United States' position with
the agreement of the defendant that the maximum fine is two
times the pecuniary gain.

THE COURT: Mr. Teicher, do you understand, at
least as just as mortal human beings can calculate these
things in the Sentencing Guidelines, that these are the
Maximum penalties of those offenses?

MR. TEICHER: Yes.

THE COURT: Now, I am going to ask the
prosecutor to recite for the record the material terms of
the plea agreement which was reached in this case.

And in doing this, Mr. Kanwit, you may also want to
outline the terms of the civil settlement which I understand
was a condition precedent to the government's recommendation
of the disposition of the criminal matters.

MR. KANWIT: Thank you, Your Honor.

The plea agreement entered into between
Warner-Lambert Company LLC and the United States provides

that it is submitted to the Court under Criminal Rule

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Li (ce) (1) (e).

And it provides that the defendant Warner-Lambert
will plead guilty to two counts of violation of Title 21,
United States Code, Sections 331(a), 331(d), 333 (a),
352(£) (1) and 355(a).

Warner-Lambert in connection with its plea has
agreed to waive any defenses, including statute of
Limitations defenses it has in connection with those crimes.

Further, Warner-Lambert and the United States have
agreed that the United States Sentencing Guidelines will
apply. And more specifically that pursuant to Section
BC2.4A2 and 18 U.S.C., Section 3571(d), the fine will be
based on a calculation of pecuniary gain to Warner-Lambert,
which pecuniary gain is one hundred fifty million dollars.

Further, the parties have agreed that the
appropriate multiplier pursuant to the Sentencing Guidelines
is 1.6. Although, as the Court is aware, the parties get to
those -- get to that multiplier through somewhat different
means. Nonetheless, the 1.6 is within the range that both
parties reach. And the parties have agreed to the 1.6
multiplier under 8C2.6 of the Sentencing Guidelines.

And, therefore, the 1.6 multiplied by the pecuniary
gain of one hundred fifty million resuits in an agreed upon
criminal fine of two hundred and forty million.

There are additional provisions in the plea

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Case 1:04-cv-10981-PBS Document 37-3 Filed 01/21/05 Page 40 of 68

agreement such as the mandatory special assessment of 5800
to be paid to the Court by Warner-Lambert. And in addition
the plea agreement contemplates the entry of Warner-Lambert
into a civil settlement agreement and a Corporate Integrity
Agreement .

The civil settlement agreement provides that
Warner-Lambert will pay to the United States on behalf of
False Claims Act and other damages pursuant to the Medicaid
program and to the state a combined total of one hundred
ninety million dollars and to state Consumer Protection
divisions the amount of thirty-eight million dollars.

It is also contemplated as part of the Corporate

“Integrity Agreement that Warner-Lambert and its parent

Pfizer will, and they have, in fact, at this point indeed
entered into a Corporate Integrity Agreement which provides,
among other things, for training of Warner-Lambert and
Pfizer employees and auditing of those employees as regards
marketing practices and related activity of the company's
employees with regard to marketing, and very specifically
potential off-label marketing.

There are over provisions of the plea agreement
entered into by Warner-Lambert and the United States that
relate to a breach of the plea agreement, that relate to the
company's continued cooperation with the government, that

relate to withdrawal of the plea agreement ; but those are

Case 1:04-cv-10981-PBS Document 37-3 Filed 01/21/05 Page 41 of 68 14

the essential elements of the plea agreement between the
United States.

THE COURT: Mr. Teicher, do you understand --
and I know that the plea agreement has been read carefully
and acknowledged -- but do you understand that as this plea
is offered, it is really offered to the Court because of the
peculiar rule under which it was written as either a "take
it or leave it proposition"? That is, either I approve the
terms as counsel have agreed or Warner-Lambert is permitted
to withdraw the plea, or the United States is also permitted
to withdraw its consent to the plea.

Do you understand that?

MR. TEICHER: Yes, Your Honor.

THE COURT: I have an interesting question for
counsel.

Is a corporation entitled to a jury trial in
criminal cases?

MR. KANWIT: Your Honor, I actually don't know
the answer to that. I always assumed that they are.

MR. ROUHANDEH: That's my understanding as
well, Your Honor.

THE COURT: I don't think the Supreme Court
has ever really answered the issue. The closest case I can

find is Muniz vs. Hoffman where it seems to have been left

as an open issue. A lot of academic writers take the

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position that, in fact, because a corporation cannot be
sentenced to imprisonment that the jury right does not
apply, at least in a criminal context.

But let's be cautious. Let's assume that it does.

And because we are being cautious, Mr. Teicher, do you

understand that when Warner-Lambert pleads guilty, it gives
up its right to have its case tried before a jury, or for
that matter before a judge sitting without a jury?

MR. TEICHER: I do.

THE COURT: Have you served as a juror?

MR. TEICHER: No, I have never served as a
juror.

THE COURT: All right. Let me simply explain
that if the case were to go to trial in this court, a group
of citizens randomly chosen from the eastern half of
Massachusetts would be summoned to this courtroom.
Ultimately twelve of them would be seated to serve as the
jurors in the case,

During the course of this so-called impanelment
process, your company and its attorneys would be permitted
to object to any ten jurors for whatever reason it did not
want them seated to hear the case. The government would
object to any six that it did not want seated for any
reason.

I would explain to the jury that they would have to

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be unanimous as to whether Warner-Lambert, in fact, was
guilty or not guilty of each of these offenses.

When I say that the company give ups its right to a
jury trial, therefore, I mean not only does the company give
up the right to have a jury make the ultimate factual
determination as to whether the company is guilty or not
guilty but also the right to participate in the selection of
the very jury that would make that decision.

Do you understand that?

MR. TEICHER: Yes.

THE COURT: Do you understand that
Warner-Lambert would be entitled to the assistance of
counsel throughout the jury selection process and throughout
the trial of the case?

MR. TEICHER: Yes, Your Honor.

THE COURT: Do you understand that I would
instruct the jury that they must presume Warner-Lambert
innocent unless or until the government succeeded in proving
the company's guilt beyond a reasonable doubt?

MS. BHAMON: Yes.

THE COURT: Do you understand that I would
also instruct the jury that the burden of proof rests with
the government throughout the trial of the case, meaning
that Warner-Lambert would have no duty to prove its

innocence, to call witnesses, to produce evidence during the

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trial?
Do you understand that?

MR. TEICHER: Yes.

THE COURT: Do you understand that the burden
of proof in a criminal trial is proof beyond a reasonable
doubt? That is the highest standard of proof known in our
system of law.

MR. TEICHER: Yes.

THE COURT: “Do you understand that
Warner-Lambert by pleading guilty gives up the right to
confront the witnesses against it? That means to have its
lawyers ask questions of the government's witnesses.

MR. TEICHER: Yes, Your Honor.

THE COURT: And do you understand that the
company gives up its right, if it should choose to do so, to
present any defenses that its counsel thought were to its
benefit during the course of the trial?

MR. TEICHER: Yes.

THE COURT: Do you also understand that the
company, to the extent that it is a personality under the
law, is in effect giving up its right I suppose to remain
silent. I assume the Fifth Amendment applies to
corporations?

Mr. Fiske, you would know the answer to that.

MR. FISKE: I am not sure, Your Honor. tI

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believe it does.

THE COURT: I think it would depend on the
circumstances and the type of --

MR. FISKE: My colleague about thirty years
ago David Kreiger (ph.) argued when he was U.S. Attorney
that the Fifth Amendment did not apply to a corporation.
And he lost that argument.

THE COURT: . Well, that is good enough for me.

We will, again, we will err on the side of caution.

You understand that the company may be giving up
the right under the Fifth Amendment to refuse to produce any
information or make any acknowledgements whatsoever with
respect to these charges?

MR. TEICHER: I understand that, Your Honor.

THE COURT: All right. I am going to ask the
prosecutor then to summarize the factual basis for the
agreement in this case.

When he finishes, I have to ask if the company
agrees with the material allegations that the government
outlines.

MR. KANWIT: Thank you, Your Honor.

If this case were to go to trial, Your Honor, the
United States would prove the following and more.

First, Warner-Lambert Company LLC was a corporation

operating and existing under the laws of the State of

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Delaware with its principal place of business in Morris
Plains, New Jersey. Warner-Lambert's Parke-Davis Division
was engaged in the development, manufacture, promotion,
sale, and interstate distribution of prescription drugs
intended for human use in the United States. Those drugs
were manufactured in Puerto Rico, from which they were
shipped interstate to all fifty states and the District of
Columbia.

The Federal Food, Drug and Cosmetic Act governs the
lawful interstate distribution of drugs for human use. As
codified at Title 21, United States Code, Sections 331 et_
seq., and specifically at 355(b), the Food, Drug and
Cosmetic Act and its implementing regulations require that
before a new drug may legally be distributed in interstate
commerce, a sponsor of that drug product must submit a New
Drug Application.

Further, the New Drug Application's sponsor must
submit proposed labeling for the proposed intended uses for
the drug which include, among other things, the conditions
for the specific therapeutic use to which the drug is to be
made.

The NDA, or the New Drug Application, must provide
to the satisfaction of FDA, data generated in randomized and
well-controlled clinical trials that demonstrates that the

drug will be safe and effective when used in accordance with

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the proposed labeling.

The Food, Drug and Cosmetic Act at Section 355
further prohibits the introduction into interstate commerce
of any new drug, unless such an approval of a New Drug
Application is effective. No marketing or promotion of a
drug may be made unless and until the application is
approved and such marketing and promotion must be limited to
the therapeutic use contained in the approval.

The Food, Drug and Cosmetic Act requires that
‘before a manufacturer may label or promote a drug for use
different than the conditions for use specified in the
approved labeling, the sponsor had to file a new NDA, or
amend the existing NDA. Only upon approval of the new NDA
or the amendment can the sponsor promote the drug for the
new intended use.

Further, the Food, Drug and Cosmetic Act at all
times relevant to this investigation provided that a drug
was misbranded if the labeling did not contain adequate
directions for use. Adequate directions for use cannot be
written for medical indications or uses for which the drug
could not be proven to be safe and effective.

The statute also prohibits distribution in
interstate commerce of an unapproved new drug or of a
misbranded drug.

Turning to the specific facts of the Neurontin and

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the Warner-Lambert situation. In or about 1993,
Warner-Lambert: submitted a New Drug Application for approval.
of a drug that was eventually called Neurontin, with the
chemical name gabapentin.

Warner-Lambert sought to demonstrate the drug's
safety and efficacy for, and sought approval for use only as
adjunctive therapy in the treatment of partial seizures with
and without secondary generalization in adults with
epilepsy.

On or about December 30, 1993, the FDA approved
Neurontin for that specific use only. Neurontin was not
approved for any use or condition other than what we have
referred to in the Information as the approved use, this
adult epilepsy I just referred to.

From at least June of 1995 through at least
August 20, 1996, unapproved uses for Neurontin included
post-herpetic neuralgia, painful diabetic neuralgia, anxiety
disorder, social phobias, bipolar disorder, alcohol
withdrawal syndrome, amyotrophic lateral sclerosis or ALS,
spinal cord injury, essential tremor, restless Leg syndrome,
reflex sympathetic dystrophy and migraine headaches, among
other uses. We have referred to these collectively along
with other uses as "Unapproved Uses."

Warner-Lambert did not file a new New Drug

Application, or NDA, seeking FDA approval for any of these

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unapproved uses during the time period addressed in the
government's information.

Regarding the marketing strategy for Warner -- by
Warner-Lambert for Neurontin, Warner-Lambert conducted
evaluations of the market potential at various times for
certain of the unapproved uses for Neurontin, including
post-herpetic neuralgia, painful diabetic neuralgia, anxiety
disorder, social phobias and bipolar disorder.

In or about the fall of 1995 one regional unit,
Warner-Lambert's Southeast Customer Business Unit, created a
planning document regarding Neurontin, which included a page
titled, "SECBU Right On The Mark with Neurontin and Pain"
over a picture of a target and listed "Neurontin for Pain
Strategies" including conference calls on pain and a pain
consultant meeting.

Further, certain of Warner-Lambert's annual
strategic plans and other marketing planning documents for
Neurontin included quarterly and annual goals, objectives,
strategies and tactics for increasing sales of the
unapproved uses of Neurontin. The marketing plans also
budgeted for and funded these specific tactics.

From early 1995 on repeated occasions
Warner-Lambert determined not to seek FDA approval for
certain of the unapproved uses.

Specifically in or about April and May of 1995,

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Warner-Lambert performed a marketing assessment of proposed
psychiatric indications for Neurontin. In that marketing
assessment Warner-Lambert forecast potential revenue from
Neurontin for bipolar and anxiety treatment under two
scenarios: With and without FDA approval.

The company concluded that it would not seek
approval to promote and sell Neurontin for those unapproved
uses.

Further, in or about July of 1995 Warner-Lambert
made an assessment of Neurontin's market potential for
neuropathic pain. This was distributed within the company,
including to a Vice President for Marketing. The assessment
stated, "There is no intention to fully develop the
indication at this point." Full development would have
required the submission of a New Drug Application to FDA for
approval .

One of the principal factors Warner-Lambert
considered in determining whether to seek approval for
Neurontin for other uses was the short patent protection
available for Neurontin. Another factor was the negative
impact such approval might generate on potential. sales of
another drug that Warner-Lambert had been developing.

The company expected that this new drug would be
approved by FDA not only for epilepsy but also for a variety

of uses beyond Neurontin's approved use.

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Once Neurontin's patent expired, other companies
could seek approval to distribute generic equivalents of
Neurontin. Such approval, however, would be limited to the
approved therapeutic use for Neurontin set forth in
Warner-Lambert's original NDA approval. If Warner-Lambert
sought and obtained approval for any of the unapproved uses,
then upon expiration of the patent, generic equivalents of
Neurontin could also be sold for those unapproved uses.
Warner-Lambert was concerned that under those circumstances
the generic equivalents would undermine sales of the new
drug that was under development.

Turning to the promotion of Neurontin for
unapproved uses and specific tactics employed by
Warner-Lambert. The government would prove at trial from in
or about June of 1995 through in or about August 20, 1996,
Warner-Lambert promoted the sale and use of Neurontin for
certain conditions other than the approved use in
Massachusetts and elsewhere.

The tactics employed included circulating a
memorandum to a group including senior members of
Warner-Lambert's Epilepsy Disease Team noting that data
purchased from an outside vendor showed that the doctors had
reported that the main message of certain sales pitches,
known in the industry as "details" by sales representatives,

given by ten of fifty Warner-Lambert sales representatives

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for whom data was available in a two-month period was for
off-label use of Neurontin. Nine were for pain and one was
for reflex sympathetic dystrophy, a painful nerve damage
syndrome.

In addition, on about July 10, 1996 a

Warner-Lambert sales representative met with a doctor in

Monroe, Louisiana and detailed that doctor on Neurontin for

the treatment of pain.

Also in 1996 another sales representative created a

document that stated that sales representatives could ask
doctors during a Neurontin detail if they ever used other
anti-epileptic drugs for painful neuropathies and could
mention that approximately 35 percent of all Neurontin use
is non-seizure. The same document entitled "Neurontin Can
Do/Can't Do," stated that sales representatives could do.
lunch programs on Neurontin and pain.

Turning to the tactic of using medical liaisons.
Warner-Lambert employed persons called "medical liaisons"
who were presented to physicians as employees of che
company's Medical and Seientific Affairs Department.

On a specific occasion in or about June of 1996, a
Warner-Lambert sales representative requested that a medical
liaison with the company make a presentation at Longwood
Gardens in Kennett Square, Pennsylvania, to a group of

physicians who were members of a local medical society.

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Prior to the meeting the sales representative and
the medical liaison selected the topic that would be
presented to the medical society. Among the topics actually
presented were the use of Neurontin for unapproved uses.

And that was done in front of -- there were doctors and in
front of the sales representative.

After the presentation a Warner-~Lambert medical
director who was aware of the event praised it as "another
great example of use of the medical liaisons" and an area
business manager who oversaw sales representatives called it
an "outstanding utilization of...one of the medical affairs
liaisons."

Further, in or about May of 1996 a Warner-Lambert
medical director who oversaw medical liaisons in the
Northeast Customer Business Unit, which was a regional sales
unit for the company, sent a voice mail message to the
Medical Liaisons in the Northeast CBU in which he stated,
"What we'd like you to do is, anytime you're called out just
make sure that your main focus out of what you're doing is
on Neurontin... When we get out there, we want to kick some
ass, we want to sell Neurontin on pain. All right? And
monotherapy and everything we can talk about, that's what we
want to do."

One or more Medical Liaisons in the Northeast CBU

interpreted this statement to mean that he or she should

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promote Neurontin for unapproved uses and thereafter
promoted Neurontin for neuropathic pain, which is an
unapproved use.

Turning to the tactic of use of consultant
meetings and advisory Boards in promoting Neurontin.
Specifically Warner-Lambert organized a consultant meeting
at the Jupiter Beach Resort in Palm Beach, Fiorida heid on
April 19 to 21, 1996. Approximately 42 physicians attended
the meeting, including nine physicians who made
presentations relating to the unapproved uses of Neurontin.

Warner-Lambert invited certain doctors to this

meeting based upon their history of writing a large number

of prescriptions for Neurontin or similar drugs. As part of

this event, Warner-Lambert paid for the accommodations and
meals for the invited doctors and their spouse or guest, and
paid an honorarium to each of the doctor attendees. Doctors
who acted as faculty were paid between $1,500 and $2,000.
Among the presentations made to the physicians in

attendance was one relating to unapproved uses entitled,
"Reduction of Pain Symptoms During Treatment with
Gabapentin."

Tn the meeting's agenda, this presentation was
listed as "Anticonvulsant Advances." During this
presentation, Neurontin was promoted for use in the

treatment of pain.

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Additional presentations made at the Jupiter Beach
conference also addressed unapproved uses.

Following the Jupiter Beach conference
Warner-Lambert circulated to employees in the Northeast
region the agenda to the meeting, specifying the off-label
topics, the faculty list, the attendee list and presentation
abstracts discussing the off-label content of the
presentations. The company told its employees that, "The
meeting was a great success and the participants were
delivered a hard-hitting message about Neurontin."

Warmer-Lambert also distributed to these employees
a form entitled "Jupiter Beach Trending Worksheet" which was
intended to be used to gauge the effect of the meeting on
the prescribing by doctors who attended the Jupiter Beach
meeting.

In addition, from August 1st through the 5th, 1996,
Warner-Lambert organized and held an advisory board meeting
in Atlanta, Georgia in connection with the 1996 Summer
Olympics. Warner-Lambert expressly instructed several of
the physician speakers to address some of the unapproved
uses of Neurontin at that meeting.

The meeting was hosted for the doctors at the
Chateau Elan Winery and Resort in Atlanta, Georgia, and all
expenses were paid for eighteen consultants and their

spouses to attend the Olympics, including tickets to the

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closing ceremonies. The company had already had numerous
opportunities to consult with these doctors and, in fact,
many of them had spoken on Warner-Lambert's behalf at prior
meetings.

Tn addition, certain of the physician speakers
promoted Neurontin for unapproved uses in their
presentations at this meeting.

Turning to the off-label promotion of Neurontin
through teleconferences.

Warner-Lambert organized teleconferences as part of
its effort to increase off-label sales of Neurontin.

Specifically in or about January of 1996 a
Warner-Lambert vice president of the Southeast Customer
Business Unit sent a memorandum to Warner-Lambert sales
representatives listing certain goals, including, "Utilize
the Medical Liaison Group to target the Neurontin, Pain &
Psychiatric Market. Objective to conduct twice weekly Pain
Teleconferences moderated by key Neuro Consultants. Goals
250 Physicians Participants quarterly."

On or about March ist, 1996,° Warner-Lambert
sponsored such a teleconference moderated by a
Warner-Lambert employee with a pain specialist as a speaker
on Neurontin. Neurontin was promoted for the treatment of
pain to doctors participating in that teleconference.

Further, on or about March 28, 1996, a

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Warner-Lambert Medical Director in the Northeast Customer --
I'm sorry _- the Northcentral Customer Business Unit sent a
memorandum to Warner-Lambert Medical Liaisons in that unit
instructing them to hold a series of teleconferences with
doctors to provide clinical updates on Neurontin, including
monotherapy and other non-epilepsy use data. Monotherapy is
use of Neurontin alone rather than in conjunction with
another epilepsy medication and it was an off-label use.

In or about May 1996 a Warner-Lambert Medical
Director held such a teleconference in the Northcentral
Customer Business Unit entitled, "Neurontin, A Clinical
Update" which the Medical Director promoted off-label uses
of Neurontin to the doctors participating in the
teleconference.

Your Honor, those are the essential facts that if
the government went to trial it would expect to prove. In
addition, there are facts contained in the Sentencing Memo
submitted by the government which the government believes
are relevant conduct.

Clearly the expectation of the United States is
that were we to go to trial, we would prove more than what
is in the Information. But what is in the Information are
the essential facts that we would prove that would he
sufficient to sustain a conviction on Counts 1 and 2.

Count 1, as the Court has noted, being distribution

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of an unapproved new drug, and Count 2, the distribution of
a misbranded drug by reason of inadequate directions for
use.

THE COURT: All right.

Mr. Teicher, I think much of this would be
unsurprising to you because it is contained in the
Sentencing Memorandum the government filed, which I am sure
that you have seen.

And I do recognize that in ite own Sentencing
Memorandum, the company does, without arguing the point of
guilt, nonetheless, it points to some mitigating factors.
For example, the fact that to the company's knowledge no
individual has been harmed by any of the activities that the
government has recited.

But I am going to focus now on what the prosecutor
related as the facts of the case as the government sees
them.

Does Warner-Lambert agree that that recitation is
factually accurate and the responsibilities that the
prosecutor pointed to which lead to the suggestion or
actually an inference of a felony nature of guilt in this
matter are accurately stated?

MR. TEICHER: Warner-Lambert acknowledges the
facts stated by the U.S. Attorney to the extent as set forth

in the Information, Your Honor.

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THE COURT: Is the company pleading guilty
voluntarily and willingly?

MR. TEICHER: Yes.

THE COURT: Has any coercion of a physical
nature, other than obviously the threat of prosecution, been
brought to bear to induce the company to plead guilty?

MR. TEICHER: No, Your Honor.

THE COURT: Have any promises of a secret
nature, that is, any promise other than those that have been
disclosed to the Court in the plea agreement and the release
been made to induce a plea agreement?

MS. BEAMON: No.

THE COURT: Again, apart from the threat of
prosecution, have any untoward threats been made to induce
the guilty plea?

MR. TEICHER: No.

THE COURT: Is Warner-Lambert satisfied with
the representation that its attorneys have provided and does
it feel that it has had sufficient time to elicit the advice
of its attorneys, discuss any possible defenses and the
consequences of entering a guilty plea in this case?

MR. TEICHER: Yes, Your Honor.

THE COURT: Is Warner-Lambert satisfied that
its attorneys have represented the corporate interests at

all times?

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MR. TEICHER: Yes.

THE COURT: Do counsel for Warner-Lambert see
any reason why the plea should not be accepted in this case?
MR. ROUHANDEH: No, Your Honor.

THE COURT: Do counsel have any other areas
that you wish me to inquire into?

MR. KANWIT: No, Your Honor.

THE COURT: Okay.

MR. ROUHANDEH: No, Your Honor.

THE COURT: None.

All right. Mr. Teicher, your ordeal is almost
over. If you would step back to counsel table.

(Pause in proceedings.)

THE COURT: All right. I find that the pleas
tendered on behalf of Warner-Lambert are voluntary. They
have been tendered after a full discussion with counsel of
whatever legal rights that Warner-Lambert may have and is
waiving as a result of the pleas.

And after consideration by the corporate Board of
Directors, it is in the company's best interests in this
matter to find that there is a sufficient basis in the facts
submitted by the government, particularly those that are
outlined in the Information, the accuracy of which
Warner-Lambert acknowledges, to warrant a finding of guilt

on each of the offenses beyond a reasonable doubt.

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I further find that given the magnitude of the fine
that is recommended, the associated civil settlement, the
fact that the plea agreement and the associated release da
not compromise any private right or any potential criminal
liability of individual defendants, or any other criminal
conduct, corporate or otherwise, that lies outside the scope
of the agreement, I find that the agreement and the proposed
disposition are in the public's interest.

I would, therefore, accept the pleas and direct the
clerk at this time to enter the pleas into the record.

THE CLERK: Mr. Teicher, would you stand,
please.

Mr. Teicher, Count 1 of the Information filed by
the United States Attorney charges Warner-Lambert Company
with digtribution of unapproved new drug, beginning as early
as in or about April of 1995, and continuing thereafter
until at least in or about August 20 of 1996, in the
District of Massachusetts, and elsewhere, all in violation
of Title 21, United States Code, Sections 331 (a), 333 (a) (2)
and 355{a).

How does Warner-Lambert Company plead to Count 1 of
this Information?

MR. THICHER: Warner-Lambert Company pleads
guilty.

THE CLERK: And Count 2 of the Information

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filed by the United States Attorney charges Warner- Lambert
Company with distribution of a misbranded drug, beginning as
early as April of 1995, and continuing thereafter until at
least in or about August 20 of 1996, in the District of
Massachusetts and elsewhere, all in violation of Title 21,
United States Code, Sections 331{a), 333(a)(2) and
352(£) (1).

How does Warner-Lambert Company plead to Count 2 of

the information?

MR. TEICHER: Warner-Lambert Company pleads

.guilty.

THE CLERK: Thank you, sir. Please be seated.

THE COURT: I have a motion before the Court
filed by the United States asking that the Court waive the
Presentence Report and proceed immediately to sentencing in
this matter.

Is that the case, Mr. Kanwit?

‘MR. KANWIT: That is, Your Honor, provided
that we, of course, want to be sure that the Court has had
an adequate opportunity to look into this matter and feels
comfortable with it.

THE COURT: The reason I was hesitant when you
all came in two or three weeks ago and asked me to conduct
the hearing then is that I would not have felt comfortable

at that point. I didn't realize that the interest was

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running quite on the meter the way it was or I might have
hurried my own review.

But, nonetheless, I think it is in the interests of
the court and the interests of the public that the judge
feel informed and comfortable about the matter in this case.

And I am, as I said, particularly having read the
terms of the release associated with the plea agreement and
those provisions as I indicated of the agreement that did
not purport to compromise any rights except those
immediately at stake in this proceeding.

I am comfortable not only with the plea but with
the proposed disposition.

Mr. Teicher, I gather it is also the desire of
Warner-Lambert to proceed immediately to sentencing?

MR. TEICHER: Yes, it is, Your Honor.

THE COURT: You understand that the company
would ordinarily have the right to have a Presentence Report
prepared by the Probation Department for further advice and
information to the Court?

MR. TEICHER: Yes, Your Honor.

THE COURT: You are willing to waive that
right of the company?

MR. TEICHER: Yes.

THE COURT: Mr. Kanwit, what is the

government's recommendation?

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I know what it is but for the record could you
state the government's recommendation.

MR. KANWIT: Your Honor, it's the United
State's recommendation that Warmer-Lambert Company LLC have
imposed upon it a criminal fine of two hundred forty million
dollars; a special assessment of $800; that restitution be
waived in light of the civil settlement agreement; and no
period of probation be imposed in light of the Corporate ©
Integrity Agreement.

THE COURT: Mr. Rouhandeh, I gather
Warner-Lambert concurs in the recommended disposition?

MR. ROUHANDEH: Yes, Your Honor.

THE COURT: Mr. Teicher, if you would stand,
please.

Mr. Teicher, pursuant to the Sentencing Reform Act
of 1984 and the associated Sentencing Guidelines, it is the
judgment of the Court that the defendant Warner-Lambert
Company LLC be fined the sum of two hundred and forty
million dollars, the fine to be paid within fourteen days of
the date of this sentencing.

I further order that the company pay a special
assessment of $800 which should be due immediately.

In light of the civil agreement entered into
previously, the Court will waive any restitution in this

matter.

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Any technical imperfection in the sentence as
dictated?

MR. KANWIT: Not that the government is aware
of, Your Honor. Could I have one moment?

THE COURT: Yes.

(Pause in proceedings. )}

MR. KANWIT: Thank you, Your Honor. Nothing
from the government.

MR. ROUHANDEH: No, Your Honor.

THE COURT: All right. The sentence will then
be imposed as it was orally dictated by the Court.

Uniess counsel have anything further, we will be
adjourned on this matter.

MR. ROUHANDEH: Yes, Your Honor. Just one
point just for the record. And that is that Mr. Teicher had
no involvement whatsoever in any of the charged or
investigated conduct.

I wanted the record to be clear on that.

THE COURT: I assumed that that is why he was

so chosen to be the representative today.
(Laughter. )

THE COURT: Okay.

All right. With that additional statement for the

record, we will be adjourned.

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THE CLERK: All rise. Court is in recess.
(WHEREUPON, the proceedings were recessed at 3:30

p.m.}

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CERTIFICATE

I, Carol Lynn Scott, Official Court Reporter for
the United States District Court for the District of
Massachusetts, do hereby certify that the foregoing pages
are a true and accurate transcription of my shorthand notes
taken in the aforementioned matter to the best of my skill

and ability.

/

CAROL LYNN SCOTT
Official Court Reporter
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(617) 330-1377

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